                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION


THOMAS E. PEREZ,                                    ]
Secretary of Labor,                                 ]
United States Department of Labor                   ]
       Plaintiff                                    ]
                                                    ]
vs.                                                 ]      File No. 2:14-0115
                                                    ]
EYE CENTERS OF TENNESSEE, LLC;                      ]
LARRY E. PATTERSON, M.D., an individual;            ]
RAYMOND K. MAYS, an individual; and the             ]
EYE CENTERS OF TENNESSEE 401(k)                     ]
PROFIT SHARING PLAN                                 ]
     Defendants                                     ]


                                 NOTICE OF APPEARANCE

         Comes Edward M. Yarbrough and J. Alex Little and hereby give notice that they are

counsel for Defendant Larry E. Patterson, M.D., an individual, in the above matter.


                                            Respectfully submitted,

                                            BONE MCALLESTER NORTON PLLC


                                     BY:    _s/Edward M. Yarbrough__________________
                                            EDWARD M. YARBROUGH            BPR #4097


                                     BY:    _s/J. Alex Little_________________________
                                            J. ALEX LITTLE                    BPR #29858

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       Case 2:14-cv-00115 Document 5 Filed 02/24/15 Page 1 of 2 PageID #: 44
                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 24, 2015, a copy of the foregoing Notice was filed
electronically.

        Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt. Parties may access this filing through the
Court’s electronic filing system.


                                               _s/Edward M. Yarbrough___________________
                                               EDWARD M. YARBROUGH




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       Case 2:14-cv-00115 Document 5 Filed 02/24/15 Page 2 of 2 PageID #: 45
